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LINDABURY

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August 31, 2022

Via Electronic Filing and Lawyers Service
Hon. Georgette Castner, U.S.D.J.

United States District Court

District of New Jersey

Clarkson S. Fisher Building and US Courthouse
402 East State Street

Trenton, NJ 08608

Re: Andrew Ritz and Michael Ritz vs. Nissan-Infiniti, LT, et al.
Civil Action No. 3:20-cy-13509

Dear Judge Castner:

Please be advised that this office represents the Defendant, Nissan Motor Acceptance
Corporation (hereinafter referred to as “NMAC”), improperly pled as Nissan-Infiniti, LT in the
above matter.

Enclosed herein please find a courtesy copy of the following documents which were
electronically filed with the Court:

1. Notice of Motion for Summary Judgment in favor of Defendant Nissan Motor
Acceptance Corporation;

2. Defendant Nissan Motor Acceptance Corporation’s Brief in support of its motion
for summary judgment;

3. Certification of Steven L. Fox, Esq. in support of Defendant Nissan Motor
Acceptance Corporation’s motion for summary judgment;

4, Statement of Undisputed Material Facts submitted by Defendant Nissan Motor
Acceptance Corporation’s in support of its motion for summary judgment; and

5. Proposed form of Order.

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| thank Your Honor for your anticipated courtesy and consideration.

Respectfully submitted,
i estabrook & Cooper, P.C.

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SLF/jc

Encs.

ce: Guerino Cento, Esq. (via efiling)
Client (via email}

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